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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

 SLADJANA PERISIC, on behalf of herself and
 others similarly situated,

        Plaintiff,

 V.                                                         Case No.: 8:16-cv-3255-EAK-SPF

 ASHLEY FURNITURE INDUSTRIES, INC., a
 Wisconsin corporation,

        Defendant.

                                              ORDER

        This cause is before the Court sua sponte.

        On November 23, 2016, Plaintiff, Sladjana Perisic, filed a purported class action complaint

 (Doc. 1) against Defendant, Ashley Furniture Industries, Inc. (" AFI"), on behalf of herself and all

 other persons who purchased furniture with DuraBlend® upholstery from AFI in Florida.

 Plaintiffs complaint alleged that AHI knew that its DuraBlend® furniture, in fact, did not consist

 of leather and was not of similar quality, but nevertheless promoted, marketed, advertised, and

 sold its DuraBlend® furniture to Plaintiff and the other class members as a high-quality, durable

 leather product. Plaintiff asserted claims under Florida's Deceptive and Unfair Trade Practice~

 Act (Count I) and common law and equitable claims for fraudulent misrepresentation (Count II)

 and unjust enrichment (Count III).

        Plaintiff filed her motion for class certification (Doc. 35) on January 23, 2018, which the

 Court referred to the Magistrate Judge for a Report and Recommendation ("R&R"). Through his

 well-reasoned R&R (Doc. 99), the Magistrate Judge recommended that Plaintiffs motion be

 denied because the class she proposed was not adequately defined and clearly ascertainable, and

 because she failed to satisfy the requirements of Federal Rule of Civil Procedure 23(a) and
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 23(b)(3). Through separate Order (Doc. 105), the Court adopted the Magistrate Judge's R&R and

 denied Plaintiffs motion. That being the case, the Court questions whether it retains subject matter

jurisdiction over Plaintiffs individual claims.

         "Federal courts are courts of limited jurisdiction. They possess only that power authorized

 by Constitution and statute, which is not to be expanded by judicial decree. It is to be presumed

 that a cause lies outside this limited jurisdiction[.]" Kokkonen v. Guardian Life Ins. Co. ofAm.,

 511 U.S. 375, 377 (1994) (citations omitted). Here, Plaintiffs complaint alleges subject matter

jurisdiction under the Class Action Fairness Act ("CAF A"), Pub. L. No. 109-2, 119 Stat. 4, which

 is codified at 28 U.S.C. §§1332(d). See (Doc. 1, at if3). CAFA gives district courts original

 jurisdiction over civil class action lawsuits in which the proposed class is comprised of at least 100

 members, there is minimal diversity (i.e., at least one plaintiff class member is diverse from at least

 one defendant), and the aggregate amount in controversy exceeds $5 million. See 28 U.S.C. §§

 1332(d)(2), (5)(b); see also Dudley v. Eli Lilly & Co., 778 F.3d 909,911 (11th Cir. 2014). Because

 the Court denied class certification, however, CAFA is inapplicable. Consequently, in a diversity

 case such as this one, 1 where Plaintiff alleges only state law causes of action, the Court has subject

 matter jurisdiction only if the amount in controversy exceeds $75,000. See 28 U.S.C. § 1332(a).

 However, the complaint does not allege damages for any individual Plaintiff exceeding the

 $75,000 amount in controversy requirement, and thus the Court's subject matter jurisdiction under

 Section 1332(a) appears lacking. 2


 1 Plaintiff is a citizen of Florida. See (Doc. I, at ,rs). AFI is a citizen of Wisconsin. Id. at ,r6; see McConico v.

 Cochran Firm, 581 F. App'x 838 (11th Cir. 2014) (unpublished) ("A corporation is a citizen of its state of incorporation
 and of the state where it has its principal place of business.") (citing 28 .U.S.C. § 1332(c)(l)).

 2 The only damages claim specifically alleged in the complaint is the $5,000,000 claimed by the purported class. See

 (Doc. I, at ,r3). While Plaintiff alleges that she spent $1,700 on the DuraBlend® furniture, see (Doc. I, at ,rt4), she
 does not specifically claim that amount as damages, and, in any event, that amount is well below the jurisdictional
 threshold.
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         Although Florida district courts considering the issue of whether subject matter jurisdiction

 under CAFA survives denial of class certification have reach differing results, compare

 Clausnitzer v. Fed. Express Corp., 621 F. Supp. 2d 1266 (S.D. Fla. 2008) (concluding subject

 matter jurisdiction under CAFA was lost after denial of class certification) with Colomar v. Mercy

 Hosp., Inc., Case No. 1:05-cv-22409-PAS, 2007 WL 2083562, at *2 (S.D. Fla. July 20, 2007)

 (concluding removal jurisdiction survived after class certification was denied and after the only

 diverse defendant was dismissed), the Eleventh Circuit, in a recent unpublished opinion, affirmed

 the district court's dismissal "on the grounds that absent certification as a class action, the district

 court lack[ed] subject matter jurisdiction over [plaintiffs] individual claim," because his damages

 "clearly [did] not exceed $75,000," see Walewski v. Zenimax Media, Inc., 502 F. App'x 857 (11th

 Cir. 2012) (per curiam). And several cases decided after Walewski have found likewise. See, e.g.,

 Carroll v. Lowes Home Centers, Inc., Case No. 1:12-cv-23996-ASG, (Doc. 56, at 1), (S.D. Fla.

 June 3, 2014) (dismissing case for lack of subject matter jurisdiction after denial of class

 certification); Karhu v. Vital Pharm., Inc., Case No. 0:13-cv-60768-JIC, 2014 WL 1274119 (S.D.

 Fla. March 27, 2014) ("CAFA jurisdiction disappears upon a definitive denial of class

 certification[.]"). While not binding, the Court finds that Walewski, at a minimum, renders the

 Court's subject matter jurisdiction in this case unclear. Due to the uncertainty, the Court will order

 the parties to brief this jurisdictional issue.

         Accordingly, it is

         ORDERED that the parties shall SHOW CAUSE within fourteen (14) days of this Order

 as to why this case should not be dismissed for lack of subject matter jurisdiction. It is FURTHER

 ORDERED that the Clerk shall administratively close this case pending the Court's determination

 of its jurisdiction over plaintiff's claims and terminate all pending motions.
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        DONE and ORDERED in Chambers, in Tampa, Florida this 15th day of August, 2018.




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 Counsel/Parties of Record
